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                       IN THE UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF ARKANSAS
                              FAYETTEVILLE DIVISION


UNITED STATES OF AMERICA                     )
                                             )
v.                                           )              Case No. 5:21-CR-50014-001
                                             )
JOSHUA JAMES DUGGAR                          )

                 UNITED STATES’ RESPONSE TO DEFENDANT’S
              MOTION IN LIMINE TO EXCLUDE OPINION TESTIMONY

       Comes now the United States of America, by and through Dustin Roberts and Carly

Marshall, Assistant United States Attorneys for the Western District of Arkansas, and William G.

Clayman, Trial Attorney for the United States Department of Justice, and for its Response to the

defendant’s “Motion in Limine to Exclude Improper Opinion Testimony,” (Doc. 70), states:

       The defendant, Joshua James Duggar, is charged in a two-count indictment with receipt of

child pornography, in violation of 18 U.S.C. § 2252A(a)(2) and (b)(1), and possession of child

pornography, in violation of 18 U.S.C. § 2252A(a)(5)(B) and (b)(2). This case is currently set for

trial on November 30, 2021.

       On November 3, 2021, the defendant filed a motion to exclude “the Government from

presenting any evidence relating to any opinion characterizing child pornography.” (Doc. 70 at p.

5). The defendant’s motion focuses on a statement made during the detention hearing in this

matter, in which the testifying agent described a certain series of child sexual abuse material

(“CSAM”) as among the worst CSAM he has ever seen. Id. at 1. The defendant argues that

testimony of this nature should be excluded as irrelevant under Federal Rules of Evidence 401 and

402, unfairly prejudicial under Rule 403, and improper expert testimony under Rule 701. Id. at 2–

5.
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       The United States does not intend to elicit any testimony in its case in chief suggesting that

the CSAM recovered from the defendant’s computer is “worse” than any other CSAM. To the

extent the defendant is seeking to exclude some other testimony, however, the Government

opposes the defendant’s motion. The defendant has not identified any other allegedly improper

opinion testimony that he believes should be excluded, nor has he provided any explanation for

why such unidentified testimony should be excluded under any of the Federal Rules of Evidence.

Accordingly, if the defendant is seeking to exclude some other testimony beyond testimony that

the CSAM found on his computer is “worse” than other CSAM, his motion is inadequately briefed

and premature, at best, and should therefore be denied.

                                                     Respectfully submitted,

                                                     DAVID CLAY FOWLKES
                                                     ACTING UNITED STATES ATTORNEY

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                                                     AND
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                                                     /s/ William G. Clayman
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                                CERTIFICATE OF SERVICE

       I, Dustin Roberts, Assistant United States Attorney for the Western District of Arkansas,
hereby certify that a true and correct copy of the foregoing pleading was electronically filed with
the Clerk of Court using the CM/ECF System which will send notification of such filing to the
following:

Justin Gelfand, Travis Story, Gregory Payne, Attorneys for the Defendant

                                                     /s/ Dustin Roberts
                                                     Dustin Roberts
                                                     Assistant United States Attorney
